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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

   SOCi, Inc.,
                                                             Docket No.:____________
                          Plaintiff,
                                                             COMPLAINT
                  vs.

    Yext, Inc.,

                          Defendant.



       Plaintiff SOCi, Inc. (“SOCi” or “Plaintiff”) by and through its undersigned attorneys,

upon knowledge as to its own actions and otherwise upon information and belief, brings this

action against Yext, Inc. (“Yext” or “Defendant”), and alleges as follows:

                                   NATURE OF THE ACTION

       1.        This action arises out of Defendant’s willful and intentional scheme to steal SOCi’s

confidential and trade secret business and product plans, customer information, technology, and

other proprietary information, and gain an unfair business advantage over SOCi, by targeting and

recruiting SOCi’s skilled and knowledgeable employees to join Yext, and encouraging them to

breach their non-compete and non-solicitation obligations and share SOCi’s confidences. In short,

Yext is brazenly and illegally attempting to undermine a competitor.

       2.        SOCi and Yext are technology companies; providing solutions for multi-location

marketing. While the solutions that SOCi and Yext offer do not completely overlap, they are in

direct competition with one another on certain products and services that they sell to the same

customer base, and that represent a significant portion of revenue for both companies. With respect

to these offerings, Yext and SOCi are the two largest players in the market.
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       3.      The impetus for this scheme appears to be Yext’s internal challenges. Yext’s

growth has stagnated. For example, Yext reported only a one percent revenue increase year over

year in the first quarter of 2024, and its stock price is down more than 60% in the last year. Yext

has executed multiple rounds of layoffs over the last two years (including letting go of 12 percent

of its workforce as recently as June 5, 2024). It was recently announced that Yext is acquiring

Hearsay Systems, which focuses on financial services compliance, which represents another sign

of how the company is attempting to manufacture growth.

       4.      Among Yext’s other issues, it has fallen significantly behind in advancing its

offerings to provide additional technological solutions to its customers such as social media

management, as well as in the race to integrate artificial intelligence (“AI”) into its product

offerings. For example, no AI products were announced at Yext’s annual customer conference,

Yext Summit, held in February 2024, even though AI products take months, if not years, to develop

and engineer, and these sorts of customer events are where companies, including Yext,

traditionally disclose the roadmaps for top innovations. In fact, at Yext’s 2024 Summit, multiple

speakers opined on Yext’s behalf that AI was not ready to be a material part of platforms like

theirs, and instead was only a tool to be used discretely by the human workers for time-intensive

projects.

       5.      In a misguided effort to catch up in areas where Yext had fallen behind, Yext has

resorted to attempting to take what it could not create on its own. Even while laying off scores of

its own people, Yext has aggressively recruited dozens of SOCi employees, in many cases in

knowing breach of the employees’ non-compete obligations, by promising them outsized

compensation, guaranteed payments and bonuses, and in some cases elevated titles to lure them to

join Yext and to share SOCi’s confidential information and trade secrets. Through these efforts,




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Yext successfully recruited, amongst others, Stuart Greer, who was the Senior Director of Sales

for SOCi, and head of SOCi’s Regulatory Sales division, Jenette Simisky, who was the Senior

Director of Product Management-Social Media, and Chris Brownlee, who was the Senior Director

of Product Management-Reputation Management. Greer, Simisky, and Brownlee, the key players

in this scheme, and the other former SOCi employees who have joined Yext, are each referred to

herein individually as a “Former Employee” and collectively as the “Former Employees.”

         6.    Critically, Brownlee and Simisky – both equity option holders at SOCi – were the

product leads for two of SOCi’s innovative and first-to market “Genius” line of products that fully

integrates AI into its services and enables full automation of certain tasks. As heads of these

products, Brownlee and Simisky were part of an exclusive set of employees that had access to the

planning and confidential information of the underlying technology for the entire Genius product

stack, as well as the designs and specifications of up to nine separate Genius products being

planned. Greer, as well, had extensive knowledge of these products given his role in strategic

planning. In other words, they had access to the crown jewels of SOCi’s anticipated future product

line.

         7.    Additionally, Simisky was the head of the social media management product at

SOCi, one of the key products that SOCi is largely considered a leader in, and that Yext had fallen

behind in developing. By recruiting Simisky, Yext has gained access to the blueprint of how to

build SOCi’s category leading product.

         8.    As for Greer, he had extensive knowledge of, and electronic access to, confidential

and trade secret information about SOCi’s customers, potential customers, and related business

strategies. This included not just the customers’ and potential customers’ names and contact

information, but also their account history, contract terms, details about how SOCi sold to those




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customers, what the customers’ pain points were, how SOCi overcame them, and the identity of

the company’s accounts that are at risk of potentially leaving its solution as well as SOCi’s plans

for addressing those customers’ respective issues. His knowledge of SOCi’s sales and marketing

would be highly valuable to Yext in targeting SOCi’s customers.

       9.      Yext’s recruitment activity has been done with the intent of causing these Former

Employees to breach their contractual, statutory, and common-law obligations to SOCi, all for the

purpose of Yext wrongfully accessing SOCi’s trade secrets. Even at this early stage, this fact is

apparent because a Yext insider has confirmed it.

       10.     SOCi was recently contacted by a senior Yext executive (the “Senior Yext

Employee”), who described themselves as being uneasy with Yext’s nefarious actions and

disclosure, use, and discussion of SOCi’s confidential information and trade secrets. The Senior

Yext Employee shared that Yext has, and intends to continue to, aggressively recruit dozens of

SOCi employees, in many cases in knowing breach of the employees’ non-compete obligations,

by promising them outsized compensation, guaranteed payments and bonuses, and in some cases

elevated titles. According to the Senior Yext Employee, Yext’s primary goal is to gain access to

SOCi’s proprietary data and information.

       11.     For example, the Senior Yext Employee informed SOCi that on or about April 19,

2024, Yext had held an internal sales meeting in New York and via Zoom, which was attended by

Yext’s sales and product leaders, as well as by Greer and another former SOCi employee. At the

meeting, Yext displayed on screen, in a presentation deck, details of SOCi’s confidential customer

information, which it had knowingly and improperly obtained from Greer. Greer and the other

former employee then proceeded to provide additional details regarding what they had learned

while employed by SOCi.




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       12.     Likewise, SOCi has heard multiple reports from its customers and potential

customers that Yext is using the Former Employees’ inside information to attempt to recruit those

customers to Yext. In some instances, Greer himself has recruited SOCi’s customers (and has

attempted to recruit some SOCi employees to join Yext as well), in breach of his continuing Non-

Solicitation obligations to SOCi.

       13.     SOCi has been unable to resolve the issue with Yext outside of court. Yext

responded to a letter from SOCi’s counsel with assurances that the Former Employees were not

using any of SOCi’s confidential or trade secret information. That claim was false, as the Senior

Yext Employee’s revelations dramatically underscore.          Yext will not stop absent judicial

intervention because it is desperate to turnaround its sputtering growth.

       14.     SOCi has been irreparably harmed by this unfair competition and trade secret

misappropriation, and is entitled to damages and injunctive relief to prevent additional harm from

accruing.

                                         THE PARTIES

       15.     Plaintiff SOCi is a Delaware corporation with its principal place of business in

California.

       16.     Defendant Yext is a Delaware corporation with its principal place of business at 61

Ninth Avenue, New York, NY 10011.

                                JURISDICTION AND VENUE

       17.     The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 because

Plaintiff’s claims raise a federal question under the Defend Trade Secrets Act, 18 U.S.C. § 1836,

et seq. Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C.

§ 1338(b), because those claims are joined with substantial and related claims under federal law.




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          18.   The Court has personal jurisdiction over Defendant Yext because it is

headquartered in and transacts business in New York state, and engaged in tortious conduct in the

jurisdiction.

          19.   Venue is properly laid in this Court pursuant to 28 U.S.C. §1391(b)(2) because a

substantial part of the events giving rise to the claims asserted herein occurred in New York. Yext

conducts substantial business in this District, and many of the acts and much of the conduct that

constitute the violations of law complained of here, including Defendants’ misappropriation of

Plaintiff’s trade secrets, occurred in this district.

                                                 FACTS

          A.    Overview

          20.   SOCi is a premier service provider offering digital marketing solutions for business,

brands, and enterprises, and especially multi-location businesses. Essentially, SOCi provides

software that helps businesses manage, and now automate, their local digital marketing, including

their local social media strategy, reputation management, and search-engine management. Using

SOCi’s solutions, a business can increase its visibility in, and help ensure accuracy of, local search

engine results, manage and respond to local reviews, integrate its local social-media profiles and

plan the local publication of content, and capture, convert, and retain local clients, among other

things.

          21.   SOCi has been one of the Inc. 5000 Fastest Growing Companies in America for the

last six years, and part of SOCi’s technology stack represents Yext’s largest competitor in this

space. A material amount of SOCi’s revenue, and likely a majority of Yext’s revenue, comes from

overlapping and directly competing marketing solutions that each company offers, specifically,

listings management, search optimization and reviews management. Yext also claims to offer a

social media management tool, but does not likely have significant revenue from this product as it



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is generally deemed to be a vastly inferior solution to that of SOCi. SOCi has these products,

including more technologically advanced versions of them, and other product offerings that Yext

does not have.

       22.       SOCi has clients in all 50 states, and in multiple sectors, including retail, education,

restaurants, financial services, healthcare, franchises, and real estate. SOCi encourages employees

to work remotely, and has employees located across the country and internationally. The Former

Employees with applicable non-competes worked for SOCi in states that enforce non-competes

where, as here, they are targeted to a legitimate business purpose.1

       B.        The Former Employees Contractually Agreed Not To Compete With SOCi
                 Post Employment, Not To Solicit SOCi’s Customers, And To Maintain The
                 Confidentiality Of SOCi’s Proprietary Information

       23.       As a condition of their employment, the Former Employees in the United States

each signed an employment agreement (the “Letter Agreement”), and an Employee Inventions and

Proprietary Information Agreement (the “Proprietary Information Agreement,” and, together with

the Letter Agreement, the “Employment Agreements”). The Employment Agreements detail

various obligations the Former Employees each owed to SOCi, define terms essential to the

protection of the company’s trade secrets and confidential and proprietary information, and include

restrictions on competition after termination of employment.

       24.       Pursuant to the Proprietary Information Agreement, each of the Former Employees

in the United States agreed not to compete with SOCi for a 1-year period after their employment

with SOCi ended (the “Non-Compete”). Proprietary Information Agreement, ¶ 4(d).                     The


1
  Under the forthcoming FTC Non-Compete Clause Rule (which is not yet in effect), the non-
competition provisions agreed to by Greer, Simisky, (and other senior SOCi employees) will
remain enforceable, because the actions underlying the claims being made herein occurred, and
continue to occur, prior to the Rule’s effective date. The Rule specifically excludes claims that
accrued prior to its effective date. 16 CFR § 910.3(b).




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prohibited “Competitive Activities” were limited situations involving employment that was

substantially similar to the Former Employee’s responsibilities at SOCi, that competes with SOCi,

or that involves the use or disclosure of SOCi’s Proprietary Information. Id. ¶ 4(a).

       25.     Each of the Former Employees also agreed not to solicit any SOCi employees or

“Business Partners” for a 1-year period after their employment with SOCi ended. Id. ¶ 4(d). The

Proprietary Information Agreement defines “Business Partner” to include present or perspective

customers. Id. ¶ 4(a).

       26.     The Former Employees further agreed that if they breach the Non-Compete and/or

Non-Solicitation, the restricted time period shall be “increased by the period of time beginning

from the commencement of any violation of the foregoing provisions until such time as I have

cured such violation.” Id. ¶ 4(d).

       27.     The Former Employees each acknowledged and agreed that “the limitations as to

time, geographical area and scope of activity to be restrained [by the Non-Compete and Non-

Solicitation] are coextensive with the Company’s footprint and my performance of responsibilities

for the Company and are therefore reasonable and not greater than necessary to protect the

goodwill or other business interests of the Company.” Id. ¶ 4(b)(ii). They each further agreed

“that such investments are worthy of protection and that the Company’s need for protection

afforded by this Section 4 is greater than any hardship I may experience by complying with its

terms that these restrictions were reasonable in duration and geographic scope.” Id. ¶ 4(b)(ii).

       28.     Thus, under the Proprietary Information Agreement, the Former Employees (except

for Brownlee) are contractually restricted from accepting employment with a competitor such as

Yext, or soliciting SOCi’s customers or employees. Each of such Former Employees was

reminded of these obligations upon his or her departure from SOCi.




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        29.   The Former Employees also agreed to “hold in strict confidence and not directly or

indirectly disclose or use any Proprietary Information” (the “Confidentiality” provision.)

Proprietary Information Agreement ¶ 3(a). Each of the Former Employees was reminded of these

obligations upon their departure from SOCi.

        30.   The term “Proprietary Information” includes all inventions, intellectual property,

“all other financial, business, legal and technical information regarding or relevant to any

Company Interest that is not generally publicly known,” and “the identity of and any other

information relating to the Company’s employees, Affiliates and Business Partners intellectual

property,” that is developed, learned, or obtained in the course of employment, or that are

otherwise received by or for the Company in confidence. Id. This obligation expressly continued

post-employment. Id.

        31.   The Former Employees also specifically agreed that, upon termination of their

employment, they would “promptly identify and, as directed by the Company, destroy, delete or

return to the Company all items containing or embodying Proprietary Information.” Id. ¶ 3(b).

        32.   Likewise, SOCi’s Employee Handbook prohibits disclosure of any confidential

information or trade secrets to anyone outside the Company without appropriate authorization.

        33.   SOCi further emphasized the importance of confidentiality through annual

trainings.

        34.   Brownlee, who is a resident of Canada, is also subject to non-solicitation and

confidentiality obligations. Brownlee was hired through Deel Canada Services, Inc. (“Deel”), an

employment agency, and signed an offer of employment and an incorporated Confidentiality and

Intellectual Property Agreement (together, the “Employment Letter”) with Deel as a condition of




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his employment with SOCi. Deel has assigned all of its rights, including enforcement rights, to

SOCi.

        35.    Yext knew about the Former Employees’ Non-Compete, Non-Solicitation, and

Confidentiality obligations before its recruitment activity began. At a minimum, Yext became

aware of these obligations when counsel for SOCi sent a cease-and-desist letter to Yext on April

19, 2024 (the “April 19 Letter”). Almost certainly, however, Yext was well aware of the

restrictions far earlier. Yext has its own employees sign non-competes and confidentiality

agreements, and Yext has sued at least one competitor and a former employee for allegedly

breaching those obligations. Thus, Yext would have become aware of the terms of SOCi’s

employment contracts at the start of its recruitment process, or very soon after recruiting the first

SOCi Former Employee.

        C.     The Former Employees Held Senior Positions At SOCi and Were Entrusted
               With SOCi’s Most Confidential And Trade Secret Information Regarding Its
               Customers and Future Product Plans

        36.    Each of the Former Employees was trusted with SOCi’s most sensitive proprietary

information and trade secrets. In reliance on their contractual obligations, SOCi invited the Former

Employees to key strategic meetings, entrusted them with technical information with respect to its

emerging products and technologies, and shared access to customer and prospect data and other

competitive information. Yext purposefully recruited the Former Employees to gain access to

these trade secrets, and it has already begun to use this information to unfairly compete with SOCi.

               1. Stuart Greer

        37.    Greer, who worked remotely from Michigan, began his tenure with SOCi on or

about November 28, 2020, initially in the position of Enterprise Account Executive, Named

Accounts. He signed his Employment Agreements on November 24, 2020. When he resigned




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from SOCi on April 1, 2024, his position was Senior Director of Sales, and he also served as the

head of SOCi’s Regulatory Division, which focused on financial services and insurance customers.

SOCi promptly reached out to Greer to remind him of his Non-Compete, Non-Solicit and

Confidentiality obligations, and offered him a paid sabbatical if he would spend that time looking

for a job with a company other than Yext to avoid a breach of his obligations, but he ultimately re-

fused and said he would be joining Yext.

       38.     As a senior sales leader at SOCi, Greer was invited to regular meetings with the

executive team, including the CEO, to discuss strategic initiatives in the company, including many

relating to its competition with Yext and strategies related thereto. As part of the team that helped

develop SOCi’s sales, marketing and competitive positioning, Greer had intimate knowledge of

SOCi’s products, processes and sales methodologies.         As a senior sales leader, Greer was

responsible for ultimately marketing and selling newly launched products, and as such would

receive early access to new product innovations and roadmap disclosures, making Greer directly

knowledgeable about the innovative and secret products that SOCi had in development, including

SOCi’s new innovative Genius product line (discussed further below).

       39.     Further, as a senior sales leader, Greer had extensive knowledge of, and electronic

access to, confidential and trade secret information about SOCi’s entire customer base, potential

customers, and related business strategies. This included not just the customers names and contact

information, but also their account history, details about how SOCi sold to those customers, what

was sold and at what price, what the customers’ pain points were, how SOCi overcame them, and

details about what the customers are happy about and not happy about in working with SOCi

(“Customer Information”). His access and knowledge also included SOCi’s internal pipeline

information, which includes information about which customers are buying, what they need, the




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stage the parties are in the conversation (e.g., discovery, scope, pricing, or contracting), quoted

pricing, and the like (“Pipeline Information”).

       40.     This Pipeline Information also includes prospects and prospect lists, which again

includes not just the account names and contact information for potential customers that SOCi

plans to or is attempting to contact, but also SOCi’s internal information about where those

potential customers are in the sales cycle, SOCi’s conversation history with these potential

customers, what their pain points are, and how SOCi is approaching the sale or retaining the

customer (“Prospect Information”).

       41.     Greer also had knowledge of and access to SOCi’s “critical accounts,” namely, the

identity of the company’s accounts that are at risk of potentially leaving its solution, as well as

SOCi’s plans for addressing the customers’ respective issues (“Critical Accounts Data” and the

“CAP List”). Access to this information would give Yext powerful ammunition to unfairly target

these vulnerable accounts.

       42.     Likewise, Greer had knowledge of and access to non-public marketing materials

like pitch decks, competitor battlecards, case studies, return-on-investment models and the like,

and direct competitive comparisons, which are used to present and position SOCi and its products

as superior to the competition (“Marketing Materials”). These documents are central to SOCi’s

sales momentum and the value that it delivers. With Yext’s access to this information, through

the Former Employees, it could mimic SOCi’s approach, and also prepare a counterapproach to

target the same customers. Greer had knowledge of SOCi’s direct competitive comparisons, that

if shared, could be used to unfairly prepare Yext to compete. SOCi has spent millions of dollars

over the years in creating the Marketing Materials, and they are considered to be highly

confidential and a trade secret.




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       43.     The Customer Information, Prospect Information, Critical Accounts Data, Pipeline

Information, and Marketing Materials are highly valuable information, maintained in confidence,

not readily known or knowable outside the company, that SOCi spent an enormous amount of cost,

time and effort accumulating, and are SOCi’s trade secrets. These items were entrusted to Greer

in reliance on his Non-Compete, Non-Solicitation, and Confidentiality obligations, and Greer was

compensated for these obligations not only with salary, bonuses, and multiple promotions but also

with considerably equity in SOCi, a privately-held company.

       44.     Access to this information, whether through the knowledge that the Former

Employees carry, or through the documents that they apparently took with them to Yext (discussed

below), is giving and will continue to give Yext a huge, unfair advantage in multiple areas,

including knowing which customers are currently on the market in a buying cycle or even just

open to a conversation, what their issues are, and how to position themselves against SOCi in

trying to pull a customer away.

       45.     On May 7, Greer publicly announced on LinkedIn that he was joining Yext as its

Vice President of Sales, Financial Services and Insurance Division. Although Greer would be

working in the same subject areas as he did at SOCi and interacting with the same customers, this

was a substantial move up in title and responsibilities. Greer had been a first time manager at

SOCi, and in his role was only the direct report for a fraction of the number of employees that he

is responsible for at Yext. SOCi has also learned that Yext offered Greer a salary more than 35%

greater than what he was paid at SOCi, and significantly higher than standard market rates (and a

similarly oversized bonus), all while Yext was planning to reduce its workforce by 200 or so people

to cut expenses. Given that Greer was minimally qualified for the role and his hiring was

sandwiched around multiple rounds of layoffs, it is clear that Yext offered the salary and position




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increase to induce Greer to breach his continuing obligations to SOCi and to gain access to the

confidential information and trade secrets that Greer had learned at SOCi.

       46.     Additionally, as Greer has shared with certain of his coworkers at SOCi, Greer is

guaranteed certain income in the event that he should no longer be able to be employed by Yext,

yet another fact demonstrating that Greer and Yext were both aware of the breaches of Greer’s

obligations in joining Yext.

       47.     That same day, Greer trumpeted on LinkedIn that he was already hiring for Yext,

thereby publicly inviting SOCi employees to join him: “Want to make money, build something

great, and have a boss with an English accent? Well, you're in luck! I'm Hiring....If you just want

the first two, other divisions of Yext are hiring 😁” The brazenness of this announcement is

indicative of Greer’s lack of regard for his continuing obligations to SOCi.

       48.     Moreover, as described further below, SOCi has confirmed that Greer is sharing

SOCi’s confidential information with Yext, who has already begun acting on this information, and

soliciting SOCi customers.

               2. Chris Brownlee

       49.     Chris Brownlee worked for SOCi as a Senior Director of Product Management, in

charge of SOCi’s “Reviews” product, and “Genius Reviews” product, the first in the line of SOCi’s

latest proprietary Genius products. Product leads are akin to “mini-CEOs,” in charge of all aspects

of a product. He started with SOCi on September 12, 2022, and worked from British Columbia,

Canada. He resigned by letter on March 4, and his last day was March 22, 2024. He told his

coworkers he was planning to join Yext.

       50.     SOCi’s “Reviews” product is its technology that allows SOCi’s clients to manage

their reputation, including by analyzing and responding to reviews left for their business across all




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of their networks and locations. SOCi has spent tens of millions of dollars developing and

maintaining SOCi’s Reviews product, and it is one of SOCi’s top three revenue products and one

of SOCi’s competitive advantages over its competitors.

         51.   As head of SOCi’s “Reviews” product, Brownlee had extensive knowledge of

SOCi’s confidential and trade secret market and product analysis and business plans in this space,

including SOCi’s approach to how to architect the platform and build workflows specific for the

multi-location industry, what issues are typically faced in connecting to networks and how SOCi

has overcome those problems. He also had access to confidential and trade secret Marketing

Materials concerning this and other product lines. In consideration of his role and importance to

the company, Brownlee was well-compensated and offered equity in SOCi.

         52.   Brownlee was also product lead for SOCi’s latest innovation of the Reviews

product, Genius Reviews, the first version of which launched on April 27, 2023.

         53.   SOCi is currently revolutionizing the online marketing-technology industry

through its Genius AI products: Genius Review, Genius Social, and its latest offering, Genius

Search, with up to six more Genius products to come. The proprietary Genius line integrates and

leverages AI in a unique and proprietary way to deliver a combination of data analysis, actionable

recommendations and automation that is unlike anything in the marketplace. The Genius features

have been in development for several years and carry a promise to change the way marketing is

done for SOCi’s target customer, allowing them to train SOCi’s platform to highly automate and

optimize their marketing at every location. The Genius products have been developed at great

effort and expense by SOCi, and the details were disclosed to SOCi employees on a need-to-know

basis.




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       54.     As a key player in one of the first Genius products, Brownlee had access to

extensive confidential and trade secret information not only about the Genius products that he led,

but about all of SOCi’s planned future releases and updates for the entire Genius platform,

including the development details and planned features of various future Genius products.

Confidential and trade secret information related to the Genius features includes all of the business

plans, including the types of products in development, what problems they will address and how,

which features they will automate, product features and innovations, release dates, market and

product analysis, SOCi’s approach to building workflows, how to leverage artificial intelligence,

and the identity of typical issues faced in all of the above and how SOCi has overcome and plans

to overcome those problems.

       55.     Although Genius Review, Genius Social, and Genius Search have all been publicly

announced, the details of how they were built and the proprietary processes and algorithms that

make them work are not publicly known.             Further, SOCi already has in place detailed

developmental plans for upgraded features for each of these products to be released soon.

Confidential and trade secret information related to these products include the types of features

planned for future releases, and the release schedule, as well as the related developmental details.

Information about SOCi’s products, and its Genius line, were entrusted to Brownlee in reliance on

his Non-Solicitation, and Confidentiality obligations.

       56.     On or about June 5, 2024, it was announced that Brownlee was becoming Yext’s

Head of Product as part of a restructuring. Given this elevated position, it would be impossible

for Brownlee not to disclose his knowledge of SOCi’s proprietary information and trade secrets,

particularly with respect to the Genius product line.




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       57.     As with Greer, Brownlee was hired for a position for which he was minimally

qualified, and despite the dearth of experience and Yext’s ongoing layoffs, was paid well-above

the market rate (and 50% or more than what he was paid at SOCi) for someone with his skillset

and experience. Again, this demonstrates that Yext was offering this lucrative compensation

package to gain access to the trade secrets and confidential information that Brownlee possesses

and will inevitably disclose in his role. In other words, Yext offered the salary and position

increase to induce Brownlee to breach his continuing obligations to SOCi.

               3. Jenette Simisky

       58.     Jenette Simisky worked for SOCi as a Senior Director of Product Management, in

charge of SOCi’s “Social” product and “Genius Social,” one of SOCi’s proprietary Genius

products. She signed her Employment Agreements on November 9, 2022, started with SOCi on

or about December 5, 2022, and worked remotely from Massachusetts. Her last day at SOCi was

May 17, 2024, and on her resignation Simisky would not disclose where she was going to be

employed next, although she later informed individuals at SOCi she was joining Yext. SOCi

understands that, much like with Greer and Brownlee, Yext offered Simisky outsized

compensation to entice her to violate her continuing obligations to SOCi.

       59.     SOCi’s “Social” product is its technology that allows SOCi’s clients to manage

their social media presence, including tasks such as distributing content, but also analyzing what

does and does not work. SOCi is well known to be a leader in the social media management space,

and its solutions have won numerous awards. As head of SOCi’s “Social” product, Simisky had

extensive knowledge of SOCi’s confidential and trade secret market and product analysis and

business plans in this space, including SOCi’s approach to architecting the platform and building




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workflows specific for the multi-location industry, and the complex issues that are typically faced

in connecting to networks and how SOCi has overcome those problems.

       60.     On June 10, 2024, Yext announced its intention to acquire a company that does

have a Social product, but that product is built to service a narrow set of customers. Yext

confirmed during its earnings call on that same day that they still intend to build their own Social

product. By recruiting Simisky, Yext can access her vast knowledge of SOCi’s products and

approach. The Social product represents a sizable portion of SOCi’s revenue, is one of its

differentiators and competitive advantages, and thus makes up a significant part of SOCi’s

enterprise value.

       61.     Simisky was also the product lead for SOCi’s latest proprietary social media

management product, Genius Social, the first version of which launched on December 14, 2023,

and was further the product lead for other in-development Genius products that have not been

publicly announced. As a key player in one of the first Genius products, Simisky, like Brownlee,

had access to (and brings with her to Yext) extensive confidential and trade secret information and

intellectual property not only about the Genius products that she led, but about all of SOCi’s

planned future releases and updates for the entire Genius line of products, including the

development details and planned features. Information about SOCi’s products, and its Genius line,

items were entrusted to Simisky in reliance on her Non-Compete, Non-Solicitation, and

Confidentiality obligations. According to what Simisky told her co-workers, SOCi understands

that Yext also offered Simisky a substantial salary increase to induce her to breach her continuing

obligations to SOCi.




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               4. Other Former Employees

       62.     Yext has also successfully recruited multiple other Former Employees with valid

and enforceable Non-Competes. This includes Keith Hadelman, who worked for SOCi remotely

from Georgia as a Global Account Director, reporting to Greer, whose final day at SOCi was April

8, 2024. A few weeks later, he announced on LinkedIn that he had joined Yext as the Director,

Enterprise (Financial Services & Insurance), which would mean he likely works in substantially

the same subject area as he did at SOCi despite his valid and enforceable Non-Compete. Hadelman

brings with him to Yext much of the same confidential and trade secret customer and account

information that Greer does.

       63.     Megan Menesale, who worked for SOCi as the Director of Product Marketing, also

joined Yext in early 2024, despite a valid Non-Compete. As the Director of Product Marketing,

Menesale was privy to sensitive and highly-confidential information about SOCi’s new product

development. She was terminated on June 7, 2023, effective June 30, 2023. At Menesale’s

request, on October 25, 2023, SOCi agreed to a partial release of Menesale’s non-compete

obligations (the “Partial Release”) and limited the non-compete obligations to only a few “key

competitors,” one of which was Yext. Despite SOCi’s cooperation with Menesale’s request, Yext

hired Menesale, where she is believed to be working in a substantially similar subject area.

Menesale has also reached out to at least one SOCi employee, a former colleague, asking that

person to share SOCi’s confidential materials, and SOCi believes that Menesale has shared with

Yext the names of key individuals to target for recruitment.

       64.     Yext has also targeted numerous other SOCi employees. Yext has recruited or

attempted to recruit at least one other product lead for the Genius line of products, a member of

SOCi’s business development team, a salesperson, multiple members of the customer success

team, and numerous other employees.



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       D.      Yext Targets SOCi Employees For Recruitment And Tortiously Interferes
               With The Employment Contracts To Gain Access To Their Confidential And
               Trade Secret Information

       65.     For years, SOCi and Yext have been the two leaders in the marketing technology

space, targeting the same pool of customers, and offering similar competing products and

solutions. Timely innovation has long proved key to maintaining a competitive advantage in the

industry.

       66.     On December 14, 2023, SOCi launched the first of its long-planned Genius line of

products that fully integrate artificial intelligence into its technology stack and enables full

automation of certain tasks, Genius Reviews, followed by Genius Social on April 27, 2024.

       67.     The successful launch of Genius put Yext on notice that it was lagging behind in

the arms race to provide prospective customers with cutting-edge technology that would

revolutionize marketing across every industry. Yext’s aggressive recruitment campaign of SOCi

employees, particularly those with extensive knowledge of the Genius products, began soon

afterward.

       68.     Faced with this competition from SOCi, approximately five months ago Yext called

an executive meeting and resolved to target SOCi and disrupt SOCi’s business and its momentum

in the highly competitive marketing technology market. SOCi recently learned about this initiative

from the Senior Yext Employee, who was concerned about the manner in which was targeting

SOCi and attempting to gain access to its trade secrets.

       69.     Yext was well aware that many of SOCi’s employees have contractual obligations

that would bar them from jumping to a competitor.

       70.     Despite those contractual obligations, Yext set out to target and heavily recruit

SOCi employees, particularly the product heads with knowledge of the Genius features and the

sales heads with intimate knowledge of SOCi’s customers. None of the positions that Yext was



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recruiting to fill were advertised publicly. Rather, Yext was surreptitiously targeting specific SOCi

employees to gain access to their knowledge of SOCi’s confidential and trade secret information.

       71.     According to information gained from certain employees that were approached,

Yext has used aggressive recruitment tactics, including offering compensation packages that far

exceed market rates, in some cases by 50% or more. Yext is purposefully overpaying these

employees, and in some cases giving them guarantees and bonuses as well as outsized roles relative

to their experience, at the same time that it has been engaged in multiple rounds of layoffs.

       72.     For example, Greer was never a sales manager before SOCi, and at SOCi he had

less than two years of sales management experience. Yet, he is now the VP of Sales of one of the

largest divisions in Yext (a division that he has bragged to a SOCi colleague to be “larger than all

of SOCi”). Similarly, Brownlee only rose to the level of Senior Director of Product Management

at SOCi. According to an email from Yext’s CEO that has been recently published, “Brownlee

will now lead the product team” of Yext, a public company four times the size of SOCi.

       73.     The oversized compensation, guarantees, roles, and titles seem specifically

designed to entice SOCi’s employees to breach their contracts, and reflects not the employees’

market value to the company, but rather the value of SOCi’s proprietary information that the

employees will bring with them. To put it another way, Yext is paying the Former Employees not

for their skills, but for sharing SOCi’s confidential and trade secret information with Yext.

       74.     Yext is well aware that it is enticing SOCi’s employees to breach their obligations

to their employer. Yext has offered to, and has, covered their legal expenses associated with those

breaches. Indeed, on May 3 (the “May 3 Letter”), counsel for Yext responded to SOCi’s April 19

Letter, as well as cease and desist letters sent to Brownlee, Greer, and Menesale, “on behalf of

Yext and each of the employees who received such letters.”




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       75.     SOCi also understands that Yext has agreed to pay Greer, and perhaps others, a

substantial severance if he becomes unable to continue working for Yext due to an injunction. In

other words, both Yext and Greer fully knew about, and intended to breach, Greer’s Non-Compete

and his other continuing obligations to SOCi.

       E.      Yext Begins Using SOCi’s Trade Secret And Confidential Information

       76.     Despite Yext’s counsel’s written assurances that it would not use SOCi’s trade

secret or confidential information, SOCi has learned that Yext has already begun using SOCi’s

trade secret and confidential customer information, in multiple public ways. And, given the

extensive knowledge of SOCi’s trade secrets that each of the Former Employees holds, it is

inevitable that they will continue to disclose SOCi’s trade secrets to Yext.

       77.     As described above, SOCi has been privately and confidentially developing its

Genius features, including Genius Search, which was released on May 22, 2024. This release date

had been established internally at SOCi for several months, and was shared with company

employees such as Greer, Simisky, and Brownlee – like other details about the Genius features –

on a strictly need to know basis.

       78.     Eight days before Genius Search was to be publicly revealed, Yext posted a press

release to their website for product called “Listings Recommendations,” to apparently compete

with (and pre-empt) SOCi’s then-secret Genius Search feature. The timing of this release, and the

described features, demonstrate to SOCi that Yext likely learned details of Genius Search from the

Former Employees.

       79.     Yext most likely does not have a similar product on offer, and only released this

press release for Listings to undercut the impact of the then imminent SOCi Genius Search release

and so Yext could (incorrectly) tell potential customers that they offered a product similar to




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Genius Search. Yext has not disclosed or previewed in any way how the product actually works,

either at the Yext Summit or since, indicating that it does not have any such product ready for

market.

       80.     SOCi’s suspicions were confirmed on or about June 5, 2024, when the Senior Yext

Employee revealed to SOCi that Brownlee had disclosed to other Yext employees detailed

documentation about the Genius products, including highly confidential product decks and pitch

decks. These types of documents contain highly confidential and sensitive information about

Genius, such as features, competitive differentiators, workflows and processes, and further details

of how the product works, to a level that could enable another product and engineering team to

recreate much of the technology.

       81.     Yext now has access to SOCi’s trade secret and confidential information about

Genius product development, including new versions for Genius Search, Social, and Reviews, as

well as new products that have not been publicly identified, such as product roadmaps, lists of

features, technology, sticking points, and solutions. SOCi has spent millions in time and money

developing its new line of Genius products, and stands to suffer extensive damages if this

information is leaked to its competitors. Yext can use the confidential and trade secret information

it induced the Former Employees to steal and divulge to aid Yext in its attempt to recreate SOCi’s

Genius features, even though most of those employees should not even be working for Yext in the

first place given their non-competes.

       82.     SOCi has also become aware of multiple instances where Yext has used its

knowledge of SOCi’s trade secret and confidential customer information to solicit SOCi’s

customers. In some instances, that solicitation has been by Greer, causing him to breach his Non-

Solicitation obligations.




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       83.     In mid-May, Greer informed a SOCi employee and former colleague that he was

visiting two of SOCi’s biggest existing customers in the Detroit area, Customers A and B, to pitch

them to join Yext.

       84.     The solicitation of SOCi’s customers violates Greer’s Non-Solicitation obligation,

but it is also clear that he is using, on behalf of Yext, SOCi’s confidential and trade secret

information to try to solicit these customers. For example, Customer A was a beta customer for

SOCi’s Genius Social product – meaning they had confidential access to the product on a “test”

basis, before the product was fully ready for its release. As of about two months ago, Customer A

noted specific problems with the product, such as that it did not suggest enough images, and the

images were tagged incorrectly. Both Brownlee and Greer knew about these issues Customer A

was having, in their product and sales roles at SOCi. When Greer reached out to Customer A,

Greer described to Customer A the exact problem Customer A had been having with the images

with the Beta implementation, and used that information to attempt to pitch Yext as an alternative.

These problems had since been resolved as the product was more fully developed and almost ready

for launch. Customer A then told SOCi about this interaction.

       85.     Customer C also reported to SOCi’s sales manager on its account that Greer had

reached out to them, as well, to pitch Yext.

       86.     Greer, on behalf of Yext, has also been targeting SOCi’s “Pipeline” customers (aka

customers that have been pitched by SOCi and are potential customers), most likely using SOCi’s

trade secret Pipeline Information documents or retained information to target these customers. In

many cases Greer had personally participated in pitching these customers on SOCi’s behalf,

attending in person meetings just weeks before leaving SOCi, and then used that information he

learned on the pitch on Yext’s behalf. Some of these prospects are currently customers of Yext,




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and by knowing which customers SOCi is speaking with or pitching, Yext has an unfair advantage

in its ability to get ahead of any competitive displacement activity by renewing customers early,

offering discounts, or otherwise addressing issues they would not have otherwise given or

addressed had they not had this information.

       87.     For example, prior to leaving, Greer had attended in-person meetings with three

potential customers, who were then currently customers of Yext, to pitch them to join SOCi at

their next renewal date, which was still several months away. After Greer joined Yext, suddenly

Yext offered these customers to renew several months ahead of schedule, at a steep discount. In

at least one instance, Greer was directly involved in pitching this customer on behalf of Yext,

which SOCi learned about when the customer accidentally sent a meeting invitation to Greer’s old

SOCi email address. At least one other customer had selected SOCi as vendor of choice, but on

or about June 5, it informed SOCi that Greer had contacted them on behalf of Yext, and now they

were reconsidering.

       88.     On behalf of Yext, Greer has also been contacting SOCi’s existing customers from

SOCi’s highly confidential and trade secret Critical Account Program (“CAP”) list, which is

information about all of SOCi’s customers with open issues, descriptions of those issues and of

SOCi’s plans to resolve them. This information is shared only with SOCi’s leadership team, on a

need-to-know basis, and Greer had access to it while at SOCi. At least one of those customers,

Customer D, reported to SOCi that Greer had called them and suggested they look to Yext as an

alternative, using extensive knowledge of the issues that customer was having.

       89.     Customer D, as well as multiple other customers and potential customers, have also

reported to SOCi that Yext has been spreading lies about SOCi, including that SOCi is in financial

distress, and that it has lost significant numbers of employees or customers. None of that is true,




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as Yext is fully aware. These falsehoods, which have apparently been spread over the past five

months, are defamatory on their face, because they disparage SOCi’s health as a business and

brings into question its ability to continue forward as a business partner or potential business

partner.

       90.    Yext is also using SOCi’s confidential and trade secret information to target SOCi’s

multi-location restaurant clients that are also doing business with a menu management supplier

and partner of SOCi (the “Menu Management Partner”). The partnership allows the Menu

Management Partner’s customers to publish changes, for example new hours of operations or

menu items, to both sources simultaneously. The Menu Management Partner also cross-sells

SOCi’s products to relevant customers and offers “white label” versions of SOCi’s products.

       91.    In the past few weeks, SOCi has heard from several of its enterprise-restaurant

customers that Yext has been contacting them with detailed knowledge of their relationship with

SOCi and the Menu Management Parter, pitching Yext instead, and offering to buy out their

contracts with SOCi. This activity only started after the Former Employees joined Yext, thus

demonstrating that the Former Employees revealed which SOCi customers also work with the

Menu Management Partner.

       F.     SOCi Has Suffered and Will Continue To Suffer Irreparable Harm

       92.    In sum, Yext is aggressively recruiting and hiring senior-level SOCi employees

with valid Non-Competes and extensive knowledge of SOCi’s trade secret and confidential

customer and product information, and is using that information to unfairly compete by targeting

SOCi’s customers and potential customers, and apparently either stealing SOCi’s technology or

using SOCi’s know-how as a short cut to unfairly develop its own.




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         93.    SOCi has suffered, and will continue to suffer, irreparable injury because the

Former Employees are in a position to share SOCi’s confidential information with Yext, and to

use that information to benefit Yext and unfairly compete with SOCi, and have already begun to

do so.

                                  FIRST CAUSE OF ACTION
                Tortious Interference with Contract Under New York State Law

         94.    SOCi repeats and realleges each and every allegation set forth above as if fully set

forth herein.

         95.    SOCi has valid and enforceable employment agreements containing valid and

enforceable Non-Compete, Non-Solicitation, and Confidentiality provisions with its Former

Employees as described above.

         96.    SOCi required each Former Employee to sign an Employment Agreement,

including the Non-Compete, Non-Solicitation, and Confidentiality provisions because, as each

acknowledged in writing, any failure to protect SOCi’s confidential and proprietary information,

including its trade secrets, would cause irreparable harm to Plaintiff. The cause of such harm is

clear and easily discernible: by joining SOCi’s main competitor, a former SOCi employee would

provide Yext with an unfair competitive advantage based on the exploitation of knowledge and

resources the employee had access to while working for SOCi.

         97.    Yext has at all relevant times been aware of the relevant Former Employee’s Non-

Compete, Non-Solicitation, and Confidentiality obligations. At a bare minimum, it was aware by

no later than April 19, 2024.

         98.    The Former Employees in the United States have valid and enforceable

Employment       Agreements,    including    continuing   Non-Compete,     Non-Solicitation,    and




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Confidentiality obligations. Brownlee has a valid and enforceable employment agreement, with

continuing Non-Solicitation and Confidentiality obligations.

       99.     Yext intentionally caused the Former Employees to breach their Employment

Agreements by, among other things, aggressively recruiting them, hiring them, and continuing to

employ them in roles that involve substantially similar subject matter, product development, and

prospective and current customers to those they held at SOCi. It further intentionally caused the

breaches by causing, encouraging, or allowing the Former Employees to share and use SOCi’s

confidential and trade secret information while at Yext, and to solicit SOCi’s customers or

prospective customers and current employees.

       100.    Yext ensured that it could lure away the Former Employees by offering

compensation (to at least some of them) that is significantly higher than what they earned at SOCi

or what is market standard (in some cases 50% or more), and with titles and roles that are beyond

their experience level. The additional “value” Yext is paying for is the Former Employee’s

knowledge of SOCi’s trade secrets and confidential information. Offering substantially above-

market compensation, guarantees, titles, and roles (unavailable anywhere else for these employees)

for the sole purpose of gaining access to SOCi’s confidential and trade secret information

evidences the impropriety of Yext’s conduct, and also serves to demonstrate that Yext’s actions

were unjustified. The clear motive was to gain access to SOCi’s confidential and proprietary

information through malicious means and bad faith.

       101.    Yext’s intentional inducement caused each of the Former Employees to knowingly

violate their Employment Agreements. None of the Former Employees would have breached their

Non-Competes by joining SOCi’s biggest competitor if not for the actions of Yext. These actions

include aggressively recruiting the Former Employees, offering to cover, and covering, the Former




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Employee’s legal expenses, and hiring the Former Employees knowing that doing so would cause

the Former Employees to breach their Non-Competes.

       102.     Nor would any of the Former Employees have breached their Non-Solicitation or

Confidentiality obligations if not for the actions of Yext – in fact, these breaches occurred after

the Former Employees joined Yext, or in anticipation of their joining, and were done at Yext’s

instruction and direction.

       103.     SOCi has suffered, and will continue to suffer, extensive damages as a result of

Yext’s conduct in an amount to be proven at trial.

       104.     SOCi is also entitled to injunctive relief to enjoin Yext from further employing the

Former Employees in positions that compete with SOCi for a period of time as specified in the

Tolling Provision.

                              SECOND CAUSE OF ACTION
                 Trade Secret Misappropriation Under New York State Law

       105.     SOCi repeats and realleges each and every allegation set forth above as if fully set

forth herein.

       106.     As set forth above, Yext has improperly acquired from the Former Employees, and

used, SOCi’s trade secret information, thereby misappropriating SOCi’s trade secrets. The trade

secrets misappropriated by Yext include information regarding SOCi’s customers, business plans,

product-development plans, marketing strategies, and other proprietary information and/or

commercially sensitive information that was secret, valuable in the industry, and had not been

disclosed to anyone outside SOCi.

       107.     SOCi’s trade secret information was trade secrets at the time of Yext’s

misappropriation.




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        108.    As disclosed to SOCi by the Senior Yext Employee, and based on the customer

detail presented onscreen in the “New York meeting” and the level of product detail in Yext’s

Listing Recommendations press release, it is clear that Yext has obtained documents containing

SOCi’s trade secrets from its Former Employees, but at a minimum those Former Employees have

shared and will continue to share SOCi’s trade secrets based on their own knowledge.

        109.    The aforementioned information qualifies as “trade secrets” under New York state

law. Furthermore, SOCi has taken reasonable measures to keep such information secret by, among

other things, restricting access to such information and requiring employees to execute

confidentiality agreements like the one the Former Employees executed. The Former Employees

and Yext were well aware that such information was confidential.

        110.    The trade secrets misappropriated by Yext, through the Former Employees, include

highly confidential information which required substantial resources, time, and investment by

SOCi to create and/or develop. SOCi derives independent economic value from them not being

generally known to, or readily ascertainably by, those who can obtain economic value from use of

this information, such as SOCi’s competitors.

        111.    Yext has used the improperly acquired trade secrets to target SOCi’s customers and

potential customers and to announce and to get an unfair head start in developing technology to

compete with the Genius features.

        112.    Yext’s misappropriation of SOCi’s trade secrets will cause SOCi to suffer harm,

including but not limited to the loss of clients, loss of reputation and customer goodwill, and loss

of the confidentiality of, and investment in, its trade secrets.

        113.    Yext’s actions were gross and wanton, and constitute willful and malicious

misappropriation of SOCi’s trade secrets pursuant to New York State Law.




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                               THIRD CAUSE OF ACTION
       Violation of the Defend Trade Secrets Act (“DTSA”), 18 U.S.C. § 1836, et seq.

       114.     SOCi repeats and realleges each and every allegation set forth above as if fully set

forth herein.

       115.     SOCi operates its business in interstate commerce across the United States. The

trade secrets misappropriated by Yext, Greer, and Brownlee are related to, and intended for use in,

interstate commerce.

       116.     As set forth above, Yext improperly acquired, viewed, and used SOCi’s trade

secrets and confidential information, thereby misappropriating SOCi’s trade secrets pursuant to 18

U.S.C. § 1839(5)(A). The trade secrets misappropriated include information regarding SOCi’s

business plans, customers, marketing strategies, technologies for AI and other proprietary

information and/or commercially sensitive information that was secret, valuable in the industry,

and had not been disclosed to anyone outside of SOCi. The aforementioned documents and

information qualify as “trade secrets” under the DTSA, as defined in 18 U.S.C. § 1839(3).

       117.     SOCi has taken reasonable measures to keep such information secret by, among

other things, requiring employees to execute Employment Agreements like the ones the Former

Employees signed, and reminding the Former Employees of their contractual obligations upon

resignation. Further, it is inevitable that Greer, Brownlee, Simisky, and, perhaps, other Former

Employees, will disclose their extensive knowledge of SOCi’s trade secrets to Yext because they

are working in similar subject areas and Yext is a direct competitor to SOCi.

       118.     The trade secrets misappropriated by Yext include highly confidential information

which required substantial resources, time, and investment by SOCi to create and/or develop.

SOCi derives independent economic value from them not being generally known to, or readily




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ascertainably by, those who can obtain economic value from use of this information, such as

SOCi’s competitors.

        119.    Yext’s misappropriation of SOCi’s trade secrets will cause SOCi to suffer harm,

including but not limited to the loss of clients, loss of reputation and customer goodwill, and loss

of the confidentiality of, and investment in, its trade secrets.

        120.    Yext’s actions constitute willful and malicious misappropriation of SOCi’s trade

secrets pursuant to the DTSA.

                               FOURTH CAUSE OF ACTION
                        Unfair Competition Under New York State Law

        121.    SOCi repeats and realleges each and every allegation set forth above as if fully set

forth herein.

        122.    Yext has engaged in unfair competition by, among other things, initiating a

campaign to raid and aggressively recruit senior SOCi employees, with extensive knowledge of

SOCi’s customers and product-development plans and processes, and participating with the

Former Employees in a scheme to acquire a “knowledge transfer” from them that is derived from

and unavoidably incorporates SOCi’s confidential information without authorization from SOCi,

which violates the unambiguous terms of the Employment Agreements. Yext is now using the

knowledge learned from those employees to unfairly target SOCi’s customers and potential

customers, and to unfairly compete in the marketplace with technology either modeled on, or

stolen from, SOCi. Yext can also use the Former Employee’s knowledge of SOCi’s confidential

information to unfairly “fast forward” the development of products competing with Genius by, for

example, avoiding known potential pitfalls or focusing on features that appeal best to customers.




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       123.    Yext has also attempted to gain an unfair advantage by lying to current and

prospective SOCi customers about SOCi’s economic status, the quality of its products, and the

company’s outlook for its longevity in the industry.

       124.    As a direct and proximate result of Yext’s conduct, SOCi has been damaged in an

amount to be proven at trial. SOCi has also incurred, and will continue to incur, additional

damages, costs, and expenses, including attorneys’ fees, as a result of Yext’s misappropriation.

       125.    Further, as a result of the aforesaid actions by Yext, SOCi has suffered and will

suffer economic and immediate and irreparable harm to its business. Money damages alone are

inadequate to fully compensate SOCi for the incalculable loss of its competitive advantage, good

will, and confidential information caused by Yext’s wrongful acts. Unless Yext is enjoined from

employing the Former Employees, and thereby achieving the aforementioned knowledge transfer,

and enjoined from further using SOCi’s confidential information, SOCi will suffer irreparable and

incalculable harm, including competitive harm regarding SOCi’s goodwill customers, marketing

plans, business plans, and product-development plans, for which it can never be compensated. No

adequate remedy at law exists for such misconduct.

                                    RELIEF REQUESTED

       WHEREFORE, SOCi respectfully request that judgment be made and entered against

Yext as follows:

   A. AS TO ALL CAUSES OF ACTION, an award granting SOCi monetary damages, the
      precise amount to be determined at trial;

   B. An award granting SOCi punitive damages;

   C. Preliminary and permanent injunction, whereby Yext would be enjoined from

           a. hiring Simisky, if she has not already started;
           b. continuing to employ Greer, Simisky, or Brownlee, or any other Former
              Employee in any role that would constitute a violation of their Non-Solicitation,
              Confidentiality, and/or Non-Compete obligations, until the full expiration of the




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             term of their continuing obligations, plus tolling for the time spent employed by
             Yext; and
          c. using or disclosing any confidential information or trade secrets belonging to
             SOCi, unless generally known in the trade or industry in which Yext is engaged
             or ascertained from public sources;

   D. Costs of suit, pre-judgment and post-judgment interest in the maximum amounts allowed
      by law;

   E. Attorneys’ fees;

   F. Exemplary damages in a sum to be determined by the Court and finders of fact in an
      amount reasonable and necessary to punish Defendant for its willful, malicious and
      wrongful conduct, and to deter future misconduct; and

   G. Judgment granting Plaintiff such other and further relief as the Court may deem just,
      equitable, and proper.




Dated: New York, New York                   Respectfully submitted,
       June 13, 2024
                                            GLENN AGRE BERGMAN & FUENTES LLP


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                                             VERIFICATION OF COMPLAINT



                     I, Falk Gottlob, pursuant to 28 U.S.C. ¶ 1746, hereby declare as follows:



                     I am the Chief Product Officer of Plaintiff SOCi, Inc. in this action. I have reviewed the

            contents of this complaint and verify that the statements contained herein are true to the best of

            my knowledge, except as to matters alleged on information and belief, and as to those matters, I

            believe them to be true. I declare under penalty of perjury under the laws of the United States

            that the foregoing is true and correct.


            Executed on June 12, 2024

                                                               _____________________________
                                                               Falk Gottlob
                                                               Chief Product Officer
                                                               SOCi, Inc.
